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13   Attorneys for Plaintiff
     COURTHOUSE NEWS SERVICE
14
15                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
16                                SOUTHERN DIVISION
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19   Courthouse News Service,                   Case No. 8:17-CV-126-JVS-KES
20                       Plaintiff,             NOTICE OF SETTLEMENT AND
21
                                                REQUEST TO VACATE CASE
                 vs.                            DEADLINES AND TRIAL DATE
22                                              [L.R. 40-2]
     David Yamasaki, in his official capacity
23   as Court Executive Officer/Clerk of the
                                                Final Pretrial Conference: Aug. 30, 2021
24   Orange County Superior Court,
                                                Trial Date: Sept. 14, 2021
25
                         Defendant.
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     NOTICE OF SETTLEMENT                                        Case No. 8:17-CV-126-JVS-KES
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 1         Plaintiff Courthouse News Service hereby notifies the Court that the parties
 2   have reached a settlement under which dismissal of this case is conditioned upon
 3   Defendant David Yamasaki’s implementation of an Electronic Media Inbox into
 4   which new electronically submitted non-confidential civil unlimited complaints will
 5   be automatically deposited upon receipt by the Orange County Superior Court for
 6   review by members of the media.
 7         Pursuant to the terms of the parties’ agreement, Defendant will create and put
 8   the Electronic Media Inbox into operation within nine months from the effective date
 9   of the settlement, or by October 11, 2021.
10         Within 10 days of Defendant’s written notification and demonstration to
11   Courthouse News Service that the Electronic Media Inbox is operational, Plaintiff will
12   file a stipulation pursuant to Federal Rule of Civil Procedure 41(a) providing for the
13   full and complete dismissal of the Action with prejudice as against all parties. The
14   parties will file the stipulation of dismissal or report to the Court as to the status of the
15   case no later than October 21, 2021.
16         Accordingly, Courthouse News Service respectfully requests that the Court
17   vacate all case deadlines, including the dates for the final pretrial conference and trial.
18
     Dated: January 20, 2021                  BRYAN CAVE LEIGHTON PAISNER LLP
19
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21
                                              By:       /s/ Jonathan G. Fetterly
22                                                      Jonathan G. Fetterly
23                                                      Attorneys for Plaintiff
                                                        COURTHOUSE NEWS SERVICE
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     NOTICE OF SETTLEMENT                                               Case No. 8:17-CV-126-JVS-KES
